   Case 18-32371                Doc 27          Filed 08/14/19 Entered 08/14/19 09:41:57                                    Desc Main
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